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NICOLA T. HANNA
United States Attorney
BRANDON D, FOX
Assistant United States attorney
Chief, Criminal Division
DANIEL J. O’BRIEN (Cal. Bar ,No., 141720) °
Assistant United States: Attorney
Deputy Chief, Public Corruption & Civil Rights Section .
1500 United States Courthouse
312 North Spring Street
Los Angeles, California 90012
Telephone: (213) 894-2468
Facsimile: (213) 894-2927
E-mail: daniel. obrien@usdo}j. gov
ELISA FERNANDEZ (Cal. Bar. No. 172004)
Assistant United States Attorney
1500 United States Courthouse
312 North Spring Street
Los Angeles, California 90012
Telephone: (213) 894-7383
Facsimile: (213) 894-2927

Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

 

UNITED STATES OF AMERICA, No. CR
Plaintiff, GOVERNMENT'S FILING OF OUT-OF-
DISTRICT PLEA AGREEMENT FOR
Vv. DEFENDANT IMAAD SHAH ZUBERI

 

IMAAD SHAH ZUBERI,

Defendant,

 

 

 

The government, by and through its attorney of record, the
United States Attorney for the Central District of California, hereby
files the attached plea agreement between defendant Imaad Shah Zuberi
and the United States Attorney's Office for the Southern District of

New York in the above-captioned case. This plea agreement is being

|| filed in this district for purposes of permitting defendant to enter

a guilty plea in this district pursuant to Fed. R. Crim. P. 20.

 

 
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Dated:

 

 

Respectfully submitted,

NICOLA T. HANNA
United States Attorney

BRANDON ‘D. FOX
Assistant United States Attorney
Chief, Criminal Division

/s/
DANIEL J. O'BRIEN
Assistant’ United States’ Attorney

Attorneys for Plaintiff.
UNITED’ STATES OF AMERICA

 

 
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GEOFFREY S. BERMAN

United States Attorney

EDWARD DISKANT

RUSSELL CAPONE

Assistant United States Attorneys

Chiefs, Public Corruption Unit.

THOMAS McKAY

REBEKAH DONALESKI

NICOLAS ROOS

Assistant United States Attorneys

Public Corruption Unit,
1 St. Andrew’s Plaza
New York, New York 10021
Telephone: 212-637-2268
Facsimile: 212-637-1068
E-mail: thomas. mckay@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
UNITED STATES OF AMERICA, ' No. CR

Plaintiff, PLEA AGREEMENT FOR DEFENDANT
IMAAD SHAH ZUBERI

 

Vv.
IMAAD SHAH ZUBERI,

Defendant.

 

 

1. This constitutes the plea agreement between Imaad Shah

‘Zuberi (“defendant”) and the United States Attorney’s Office for the

Southern District of New York (“the USAO”) in the above-captioned
case. All rights or powers of the USAO under this agreement may be
exercised on behalf of the USAO by the United States Attorney's
Office for the Central District of California, This agreement is
limited to the USAO and cannot bind any other federal, state, local,
or foreign prosecuting, enforcement, administrative, or regulatory

authorities. -

 

 
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DEFENDANT'S OBLIGATIONS
2. Defendant agrees to:

a. Give up the right to indictment by a grand jury and,
at the earliest opportunity requested by the USAO and provided by the
court, appear and plead guilty to a one-count information in the form
attached to this agreement as Exhibit A or a substantially similar
form, which charges defendant with obstruction of justice, in
violation of 18 U.S.C. §§ 1512 (c) (1) - (2) and 2,

b. Not contest facts agreed to in this agreement.

Cc. Abide by all agreements regarding sentencing contained
in this agreement.

d. Appear for all court appearances, surrender as ordered
for service of sentence, obey all conditions of any bond, and obey
any other ongoing court order in this matter. | :

e. Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines ("U.S.8.G." or “Sentencing Guidelines”) § 4A1.2(c) are not
within the scope of this agreement.

f. Be truthful at all times with the United States
Probation and Pretrial Services Office and the Court.

g. Pay the applicable special assessment’ at or before the
time of sentencing unless defendant has demonstrated a lack of
ability to pay such assessments. |

THE USAO’S OBLIGATIONS

 

3. The USAO agrees to:
a. Not contest facts agreed to in this agreement.

b. Abide by all agreements regarding sentencing contained

in this agreement.

 

 
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ec. At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up to
and including the.time of sentencing, recommend a two-level reduction
in the applicable Sentencing Guidelines offense level, pursuant to
U.S.8.G. § 3H1.1, and recommend and, if necessary, move. for an
additional. one-level reduction if available under that section.

d. Except for criminal tax violations (including
conspiracy to commit such violations chargeable under 18 U.S.C.
§ 371), not further criminally prosecute defendant for (a) his
representations to the 58% Presidential Inaugural Committee (the
*PpIC’) regarding the source of funds for a $900,000 donation to the
PIC made: in the name of “Avenue Ventures”, and (b) acting as an agent>
of one or more foreign. principals by acting at the direction of, and
under control. from, officials of the government of Pakistan, without .
registering with the Department of Justice between in or about 2016
and in or about the present. Defendant. understands that the USAO is
free to criminally prosecute defendant for any other unlawful past
conduct or any unlawful conduct that occurs after the date of this
agreement. Defendant agrees: that at the time of sentencing the Court
may consider the uncharged conduct in determining the applicable
Sentencing Guidelines range, the propriety, and extent of any
departure from that range, and the sentence to be imposed after
consideration of. the Sentencing Guidelines and all other relevant.
factors under 18 U.S.C. § 3553(a).

NATURE OF THE OFFENSE

 

4. Defendant understands that for defendant to be guilty of

the crime charged in Count One, that is, obstruction of justice, in

 

 
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violation of Title 18, United States Code, Sections 1512(c) (1) - (2)
and 2, the following must be ‘true:

a. Defendant altered, destroyed, mutilated, or concealed
a record, document or other object, or attempted to do’ so, with the
intent: to impair the objéct’s integrity or availability for use in an
official proceeding, or otherwise obstructed, influenced, or impeded
an official proceeding; and

b, Defendant acted corruptly.

PENALTIES

5. Defendant understands that the statutory maximum sentence
that the Court can impose for a violation of Title 18, United States
Code, Sections 1512(c) and 2, is: 20 years of imprisonment; a 3-year
period of supervised release; a fine of $250,000 or twice the gross
gain Se gross loss resulting from the offense, whichever is Greaeese)
and.a mandatory special assessment of §100.

6. Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be subject
to various restrictions and requirements. Defendant understands that
if defendant violates one or more of the conditions of any supervised
release imposed, defendant may be returned to prison for all or part
of the term of supervised release authorized by statute for the
offense that resulted in the term of supervised release, which could
result in défendant sérving a total term of imprisonment greater than
the statutory maximum stated above.

7. Defendant undérstands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury.

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Defendant understands that once the Court accepts. defendant’s guilty
plea, it. will be a federal felony for defendant to possess a firearm
or ammunition. Defendant understands Egat the conviction in this
case may also subject defendant to various other collateral
GonPeavencee: including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that
unanticipated collateral consequences will not serve as grounds to
withdraw defendant’s guilty plea.

8. .Defendant understands that, if defendant is not a United
States citizen, the felony conviction in this case may subject
defendant: to: removal, also known as deportation, which may, under
gome circumstances, be. mandatory; denial of citizenship; and denial

of admission to the United States in the future. The Court cannot,

and defendant’s attorney also may not be able to, advise defendant

fully regarding the immigration consequences of the felony conviction
in this case. Defendant understands that unexpected immigration
consequences will not serve as grounds to withdraw defendant’s guilty
plea. . | |

: FACTUAL BASTS

9. Defendant admits that defendant is, in fact, guilty of the

offense to which defendant is agreeing to plead guilty. In
particular, defendant admits that:

a. In or about November 2016, the defendant asked an

individual ("Donor-1") to make.a substantial donation to the 58th

Presidential Inaugural Committee (“PIC”). Donor-1 gave the defendant

a $50,000 check, intending it as a donation to the PIC,

 

 
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b. ‘The defendant subsequently made a $900,000 donation to
the PIc in the name of an entity he controlled, but did not inform
the PIC that certain of the funds for his donation came from Donor-1.

Cc. On or about February 5, 2019, media organizations
reported’ that a federal grand jury in the Southern District of New
York wag investigating donations to the PIC, including specifically
the defendant's donation (the “SDNY Investigation”). Shortly
thereafter, the defendant contacted Donmor-1 and requested an in-
person meeting.

a. On or about February 25, 2019, the defendant met with
Donor:1 at a restaurant in California. At thie meeting, the defendant
and Donor-1 discussed the SDNY Investigation, and the defendant asked
Donor-1, in substance, -whether he had been contacted by federal
investigators. :

e. During the meeting, Donor-1 asked the defendant ‘to
refund the $50,000 that Donor-1 had given the defendant ag an
intended donation to the PIC. The defendant initially refused to do
so, However, when Donor-1 reminded the defendant that Donor-1 had
written on the check itself “Inauguration 17," the defendant promptly
agreed .to repay Donor-1.

£. The defendant then wrote a check to Donor-1 for
$50,000, indicating in the memo line ‘that it was a “refund.”
Although the defendant wrote the check on February 25, 2019, i.e.,
the date of the meeting described above, the defendant back-dated the
refund check to February 1, 2019, intending to obstruct justice by
making it appear that the defendant had returned Donor-1’s money

before he learned of thé SDNY Investigation into the source of funds

for the $900,000 PIC donation.

 

 

 
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10. Defendant and the USAO agree that this statement of facts
is sufficient to support a plea of guilty to the charge described in
this agreement and to establish the Sentencing Guidelines factors set

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forth in paragraph 12 below but is not meant to be a complete

recitation of all facts relevant to the underlying criminal conduct

or all facts known to either party. that relate to that conduct.

SENTENCING FACTORS

11. Defendant understands that in determining defendant's
sentence the Court is required to calculate the applicable Sentencing
Guidelines range and to consider that range, possible departures
under the Sentencing. Guidelines, and the other sentencing factors set
forth in 18 U.S.C. § 3553(a), “Defendant =nderaeands that ene
Sentencing Guidelines. are advisory only, that defendant cannot have
any expectation of. receiving a sentence within the calculated
Sentencing Guidelines range, and that after considering the
Sentencing Guidelines and the other § 3553(a) factors, the Court will
be free to exercise its discretion to impose any sentence it finds
appropriate up to the maximum set by statute for the crime of
conviction. _ |

12. Defendant and the USAO agree that the following applicable
Sentencing Guidelines factors apply to the conduct described in the

Information attached as Exhibit A,

Base Offense Level: 14 U.S.S.G. § 231.2 (a)
Acceptance of Responsibility: 2 U.S.S.G. § 3H1.1(a)
Total Offense Level: 12

The USAO will agree to a two-level downward adjustment for acceptance

of responsibility (and, if applicable, move for an additional one-

 

 
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level downward adjustment under U.S.S.G. °§ 3E1.1(b)) only if the
conditions set forth in paragraph 3.¢ are met and if defendant has
not committed, and refrains from committing, acts constituting
obstruction of justice within the meaning of U.S.S.G. § 3Cl1.1, as
discussed below. Subject to paragraph 25 below, defendant and the
USAO agree not to seek, argue, or suggest in any way, either orally
or in writing, that any other specific offense characteristics,
adjustments, or departures relating to the offense level be imposed.
Defendant dagrees, however, that if, after signing this agreement but
prior to sentencing, defendant were to commit an act, or the USAO
were to discover a previously undiscovered act committed by defendant
prior to signing this agreement, which act, in the judgment of the
USAO, constituted obstruction of justice within the meaning of
U.S.8.G. § 3C1.1, the USAO would be free to seek the enhancement’ set
forth in that section and to argue that defendant is not entitled to
a downward adjustment for acceptance of responsibility under U.S.S.G.
§ 3BH1.1.

13. Defendant understands that there is no agreement as to
defendant's criminal history or criminal history category.

14. Defendant understands that, in the event that Defendant's
sentencing in this matter is consolidated with his sentencing in
United States v. Imaad Zuberi, 19 Cr. 642, the above calculation may
change.

WAIVER OF CONSTITUTIONAL RIGHTS

15. Defendant understands that by pleading guilty, defendant
gives up the following rights:

a. The right to persist in a plea of not guilty.
b. The right to a speedy and public trial by jury.

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c. The right to be represented by counsel - and if
necessary have the Court appoint counsel -~ at trial. Defendant
understands, however, that, defendant retains the right to be
represented by counsel - and if necessary have the Court appoint
counsel a at every other stage. of the proceeding.

da. The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant guilty
beyond a reasonable doubt.

e. The right to confront and cross-examine witnesses
against defendant..

£. The right to testify and to present evidence in
opposition ‘to the charges, including the right to compel the
attendance of witnesses to testify.

gq. The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

h. Any and all rights to pursue any affirmative defenses,
Fourth Amendment or Fifth Amendment claims, and other pretrial
motions that have been filed or could be filed. ,

WAIVER OF APPEAL OF CONVICTION

 

16. Defendant understands that, with the exception of an appeal

based on a claim that defendant’s guilty plea was involuntary, by

pleading guilty defendant is waiving and giving up any right to

appeal defendant’s conviction on the offense to which defendant is
pleading guilty. Defendant understands that this walver includes,
but ig not limited to, arguments that the statute to which defendant

is pleading guilty is unconstitutional, and any and all claims that

 

 
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the statement of facts provided herein is insufficient to support
defendant’s plea of guilty.

WAIVER OF APPEAL OF SENTENCE AND WAIVER OF COLLATERAL ATTACK

17. Defendant gives up the right to appeal all of the |
following: (a) the procedures and calculations used to determine and
impose any portion of the sentence; (b) the term of imprisonment
imposed by the Court, provided it is within the statutory maximum;
(c) the fine imposed by the Court, provided it is’within the
statutory maximum; (d) to the extent permitted by law, the |
constitutionality or legality of defendant's sentence, ‘provided it is
within the statutory maximum ; (e) the term of probation or supervised
release imposed by the Court, provided it is within the statutory
maximum; and (£) any of the following conditions of probation or
supervised release imposed by the. Court: the conditions set forth in
General Order 18-10 of this Court; the drug testing conditions
mandated by 18 U.S.C. §§ 3563(a) (5) and 3583(d); and the alcohol and
drug use conditions authorized by 18 U.S.C. § 3563(b) (7).

18, Defendant also gives up any right to bring a post-
conviction collateral attack on the conviction or sentence, except a
post-conviction collateral attack based on a claim of ineffective
assistance of counsel, a claim of newly discovered evidence, or an
explicitly retroactive change in the applicable Sentencing
Guidelines, sentencing statutes, or statutes of conviction.

19. The USAO agrees that, provided that the Court imposes a
term of imprisonment within the statutory maximum, the USAO gives up

its right to appeal any portion of the sentence.

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RESULT OF WITHDRAWAL OF GUILTY. PLEA
20. Defendant agrees that if, after entering a guilty plea
pursuant to this agreement, defendant seeks to withdraw and succeeds

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in withdrawing defendant’s guilty plea on any basie other than a
claim and. £inding that entry into this. plea agreement was
involuntary, then (a) the USAO will be relieved of all of its
obligations under this agreement; and. (b) should the USAO choose to
pursue any charge that was either dismissed or not filed as a result
of this agreement, then (i) any applicable statute of limitations
will be tolled between the date of defendant’s signing of this
agreement and the filing commencing any such action; and

(ii) defendant waives and gives. up all defenses based on the statute
of limitations, any claim of pre-indictment delay, or any speedy
trial claim with respect to any such action, except to the extent
that such defenses existed as of the date of defendant's signing this
agreement,

EFFECTIVE DATE OF AGREEMENT

 

21. This agreement is effective upon signature and execution of
all required certifications by defendant, defendant’s counsel, and an
Assistant United States. Attorney.

BREACH OF AGREEMENT

 

22. Defendant agrees that if defendant, at any time after the
signature of thig agreement and execution of all required

certifications by defendant, defendant’s counsel, and an Assistant

United States Attorney, knowingly violates or fails to perform any of

defendant’ s obligations under this agreement (“a breach”), the USAO
may declare this agreement breached. All of defendant’s obligations
are material, a single breach of this agreement is sufficient. for the

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USAO to declare a breach, and defendarit shall not be deemed to have
cured a breach without the express agreement of the USAO in writing.
If the USAO declares this agreement breached, and the Court finds
such a breach to have: occurred, then: (a) if defendant has previously
entered a guilty: plea pursuant to this agreement, defendant will not
be able to withdraw the guilty plea, and (b) the USAO will be
relieved of all its obligations under this agreement.

23. Following the Court’s finding of a knowing breach of this
agreement by defendant, should the USAO choose to pursue any charge
that wag either dismissed or not filed as a result of this agreement,
then:

a. Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant’s signing of this
agreement and the filing commencing any such action. :

| b, Defendant waives and gives up all defenses based on
the statute of limitations, any claim of pre-indictment delay, or any
speedy trial claim with respect to any such action, except to the

extent that such defenses existed as of the date of defendant’s

‘signing this agreement.

C. Defendant agrees that: (i) any statements made by
defendant, under oath, at the guilty plea hearing (if such a hearing
occurred prior.to the breach); (ii) the agreed to factual basis
statement in this.agreement; and-(iii) any evidence derived from such
statements, shall be admissible against defendant in any such action
against defendant, and defendant waives and gives up any Glaim under
the United States Constitution, any statute, Rule 410 of the Federal
Rules of Evidence, Rule 11(£) of the Federal Rules of Criminal
Procedure, or any other federal rule, that the statements or any

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evidence derived from the statements should be suppressed or are
inadmissible,
COURT AND UNITED STATES BROpAIICn AND PRETRIAL SERVICES
OFFICE NOT : PARTIES |

24. Defendant understands that. the Court and the United States
Probation and Pretrial Services Office are not parties to this
agreement and need not accept any of the USAO's sentencing
recommendations or the parties’ agreements to facts or sentencing
factors,

25 ... Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information
to the United States Probation and Pretrial Services Office and the
Court, (b) correct any- and all factual misetatements relating to the

Court’s Sentencing Guidelines calculations and determination of

‘sentence, and (c) argue on appeal and collateral review that the

Court's Sentencing Guidelines calculations and the sentence it
chooses to impose are not error, although each party agrees to
maintain its view that. the Calculations in paragraph 12 are
consistent with the facts of this case. While this paragraph permits
both the USAO and defendant to submit full and complete factual
information to the United States Probation and Pretrial Services
Office and the Court, even if that factual information may be viewed
as inconsistent with the facts agreed to in this agreement, this
paragraph does not affect defendant’s and the USAO’s obligations not
to contest the facts agreed to in this agreement.

26. Defendant understands that even if the Court ignores any
qedentiae recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to the

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maximum established by statute, defendant cannot, for that reason,
withdraw defendant's guilty plea, and defendant will remain bound to
fulfill all deféndant’s-obligations under this agreement. Defendant
understands that no one'-- not the prosecutor, defendant’s attorney,
or the Court -- can make a binding prediction or‘promise regarding
the sentence defendant will receive, except that it will be within
the statutory maximum.
NO ADDITIONAL AGREEMENTS

27. Defendant understands that, except as set forth herein,
there are no promises, ‘understandings, or agreements between the USAO
and defendant or defendant's attorney, and that no additional |
promise, understanding, or agreement may be entered into unless in a

writing signed by all parties or on the record in: court.

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PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING
28. The parties agree that this agreement will be considered
part of the record of defendant's guilty plea hearing as if the
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entire agreement had been read into the record of the proceeding.

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AGREED AND. ACCEPTED

UNITED STATES ATTORNEY’S OFFICE .
FOR THE SOUTHERN DISTRICT OF NEW
YORK.

GEOFFREY $. BERMAN

United States Attorney

oe
THOMAS MEN ee
REBEKAH DO

NICOLAS ROOS

wet, Like States Attorneys

IMAAD SHAH ZUBERI

Befendant
BY

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Attorney for Defendant rmiaad Shah
Zuberi

 

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Date

 

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CERTIFICATION OF DEFENDANT

 

I have read this agreement in its entirety. I have had enough
time to review and consider this agreement , and I have carefully and
thoroughly discussed every part of it with my attorney. I understand
the terms of this agreement, and TI voluntarily agree to those terms.
I have discussed the evidence with my ‘attorney, and my attorney has
advised me of my rights, of possible Pasertad motions that might be
filed, of possible defenses that might be sédefted dither prior to or
at trial, of the sentencing factors set forth in 18 U.S.C. § 3553 (a),
of relevant Sentencing Guidelines provisions, and of the consequences
of entering into this agreement. No promises, inducements, or
representations of any kind have been made to me other than those
contained in this agreement. No one has threatened or forced me in
any way to enter into this agreement. I am satisfied with the :
representation of my attorney in this matter, ard I am pleading
guilty because I am guilty of the charge and wish to take advantage

of the promises set forth in this agreement, and not for any other

 

 

reason.
A144 2.] 22/2070
TMAAD. SHAH ZUBERI Date ’
Defendant

CERTIFICATION OF DEFENDANT’S ATTORNEY
IT am Imaad Shah Zuberi’s attorney. I have carefully and
thoroughly discussed every part of this agreement with my client.
Further, I have fully advised my client of his rights, of possible
pretrial motions that might be filed, of possible defenses that might
be asserted either prior to or at trial, of the sentencing factors

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get forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
provisions, and of the consequences of entering into this agreement.
To my knowledge: no promises, inducements, or representations of any
kind have been made to my client other than those contained in this
agreement; no one has threatened or forced my client in any way to
enter into this agreement; my client’s decision to enter into this
agreement is an informed and voluntary one; and the factual basis set
forth in this agreement is sufficient to support my client's entry of

a guilty plea pursuant to this-agreement.

  

 

 

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PAVED KELLEY oS . ate
Attorney for Defendant Imaad Shah

Zuberi

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